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                                                                             $Ad
                                                                               Q:
                                                                               j'kjl
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                                                                                    'ik,9.
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                                                                              N0# 27 2217
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                                                                            iutl       #
                                                                                           ' ()   j   .
                              ln the United States Distrid Court        BY:
                                                                        .
                                                                                           @
                                                                               D
                             Forthe W estern Distrid ofVirginia
                                      Danville Division



                 Brian David Hill
                   Plaintifqs)
                       V.                                 CivilAction No.4:17-cv-00027

    Executive Office forUnited StatesAttorneys
                    (EOUSA)
                        &
   UnitedStatesDepartmentoflustice(U.S.DOJ).
                 Defendantls)


                     PLA IN TIFF'S FIR ST STA TU S R EPO R T

     1. PlzrsuanttotheCourfsJlme19,2017Order(SeeDocument#11),Plaintiffisfiling
        hislrstStatusReportforthe Courtand theD efendants'can review beforethe 60

        dayspriorto the civiltrialwhich w msscheduled forthedateofJanuary 29,2018

        (SeeDocument#15).
     2. Secondparagraph ofthatOrder,statedthat..(2)Partiesshallsubmitastatus
        reportintheform ofaletter,settingforthanypretrialmatterswhich'needtobe
        taken up with theCourtnolaterthan 60dayspriortofrïl/.A pretrialcon#rence
        willbescheduledattherequestofanyparty.''
     3. Plaintiffw illneed m oretim eto establish and ;le an ExhibitListand W im essList,

        ofa11planned w itnessesandExhibitsthatthe Plaintiffplanson using in the civil




Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 1 of 18 Pageid#: 787
        Trialthatisplalm ed forthe date ofJanuary 29,2018,unlessthe date is asnoted

        otherwise by theCourt.

     4. Eitherparties'ability to requestany discovery m atterha.
                                                               sbeen frozen due to the

        currùntand ongoing A ppeal,pending the stay ofm andate due to the petition for

        rehearing(SeeDocument#43).PlaintiffhadattemptedtotileaM otionto
        Reconsider(SeeDocumept#37)atanearliertimebutwasdenied(SeeDocument
        #38)duetotheCourthavingnojurisdictional(urispnzdence)authoritytomakea
        decision on thediscovery m attekdueto the ongoing Appeal.ThePlaintiffis'
                                                                               still

        w illing to show the CourtthathissubpoenaforJohn ScottCoalterisrelevantto

        proving thatthe Defendants'inappropriately covered up and improperly withheld

        recordssubjecttotheFOIA h&bothviolation oftheFreedom ofInformationAct
        (theGTOIA'')andmay beObstmction ofJusticetmderTitle 18U.S.C.j1519.
        GDestruction,alteration,orfalsfcationofrecordsinFederalinvestigationsand
        O nbwr/cx ''Plaintiffwillask thatthenextU .S.Attom ey investigate and

        prosecute Anand Prakash Ram asw am y and ChelylTholmton Sloan forobstruction

        ofjusticeand collectively (theoffke)lyinginbothhiscriminalcaseand thiscivil
        caseto ruin USW GO Altem ative News,and forcrim inally victim izing Brian

        D avid H illand hisentire fnm ily forPlaintitr s2009-2012 politicalactivities.

        Plaintiffhad also attem pted to reporttheA ssistantU .S.A ttom ey'scorrupt

        activitiestoU.S.CongressmanM ark W alker(Greensboro,NC)byhyingtocall
        hisplivatecellphone butm ay have failed.Plaintiffhasalso tried to enlistfriends

        orfamilytoworkon havingtheU.S.Attom ey offkehwestigated.Anm ays,the
                                             2

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 2 of 18 Pageid#: 788
        Plaintiffisstillwilling to have athird party pay forthe costsofenforcing atleast1

        (one)subpoenatoAttomeyJolm ScottCoalterto producecopiesofallrecords
        containing acopy ofa11discovery m aterialswhich were covered up by Anand

        Prak% h Ram asw am y orsom ebody else presumably attheiroffice,and/orCheryl

        Thornton Sloan hasapproved such coverup by going along with thecom lpt

        activities.

     5. W hen the Plaintiffgetsaccessto the discovery m aterialagain pursuantto when

        theeventhappenswheretheU.S.Attomey may objecttoPlaintiffs2255motion
        in theN .C.M .D.,the Plaintiffw illfnake aform alrequestviadiscovery agreçm ent

        thatthePlaintiffbe allowed to usethe discovery evidencem aterialin both his

        crim inalcase and in thiscivilcaseto provethatthe U.S.Attorney covered up

        evidenceofPlaintiff sactualinnocence,u ow ingly claim ed thatcertain records

        didnotexist(SeeDocument27-1)thatmayindeedexist(SeeDocument#2-5)
        which isa coverup orconcealm entoffederalprosecution Gles/recordswhich is

        Obstruction ofJusticeand improperwithholdingoffederalrecordssubjecttothe
        FOIA .ThePlaintiffm ay soon haveaccessto hisentirediscovery and can prove

        thatthe Govermnentlied in thisFederalCoul'
                                                 t.Ifhow everthey chicken outand

        refuseto givethe entire discovery pursuantto Plaintifrsactualinnocence claim s

        in his2255motion(readfurtherforexplanationaboutPlaintc srecentlyfled
        2255motion),thenthePlaintiffwaswrongfully convictedand prosecuted on
        evidencethatdidn'teven provethe Plaintiffguilty beyond aremsonable doubt.

        Thatsuch recordsm ay have been covered up by the authority figures.Eitherway

                                            3

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 3 of 18 Pageid#: 789
        the federalprosecution haslied orm adefalse m aterialfactsbeforeeitherFederal

        CourtorbothFederalCourtswhichisN.C.M .D.andV.A.W .D U.j.District
        Courts.D efendànts'had the evidencethatPlaintiffgave afalse confession which

        w asfurtherexplained in Plaintiffs2255 m otion thatw astlled recently.

        D efendants'had evidencewhich provesthe cm dibility ofthe threatening em ails

        from torm ail.org,and provethatchild pom ography had dow nloadedto Plaintiffs

        laptop while in thecustody ofM ayodan Police and theN .C.State Bureau of

        Investigation.O fcourse tlfeD efendants'are the onesin thew rone here.thev

        should be punished.and thePlaintiffnee4sfp no lontqr betrqated asp Sqx
                                                               -




        O ffender.Thisisridiculousthatthey are getting away w ith those ooverupsand

        w ith such adisdain forthePlaintiffthatwmspartofUSW GO A ltem ativeN ews

        back then.

     6. OnNovember14,2017,Plaintiffhadtiled a(Document#125,caseno.1:13-cr-
        435-1.N.C.M .D.)CIM OTION toVacate,SetAsideorCorrectSentence(pursuant
        to28U.S.C.2255)byBRIAN DAVID HILL.(Attachments:# 1
        EnvelopellTaylor,Abby)Civilcase1:17-cv-01036-TDSopened.(Entered:
        11/14/2017/'.Thatmotionwmsfiled intheU.S.DistrictCourt,fortheM iddle
        DistrictofNorth Carolina(N.C.M .D.),GreensboroDivision,CriminalActionNo.
        1:13-cr-435-1,CivilA ction N o.1:17-cv-01036.The case wasreferred to the

        H onorable U.S.ChiefJudgeThom asD .Schroeder,and referred to theHonorable

        U .S.M agistrate Judge JoeL.W ebster.The Plaintiffhaslinked thiscasew ith the

        recentclaimsinltiscriminalcasebyfiling in oneofthegroundsforhisj2255
                                           4

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 4 of 18 Pageid#: 790
        M otion thatthe U .S.Attorney covered up evidencethatcan provePlaintiffs

        actalnlinnocence thatisindeed one ofthegroundswhich are underthe exception

        ofnewlv discovered evidence which could nothavçbeen previouslv discovered or
                                                        -




        exercised underdue diligence.n isCourtm ay exam ineN .C.M .D .crim inalcase

        Documents#127(1:13-cr-435-1(M .D.N.C.I)EtNoticebyBrianDavidHillre:125
        M OTION toVacate,SetAside,orCorrectSentence(pursuantto 28U.S.C.2255)
        CivilCase 1:1vCV1036.(Taylor,Abbyl'';#128 (1:13-cr-435-1.(M .D.N.C.I)
        IGM EM OM N DUM by BRIAN DAVID H 1I,
                                           L re 125M otion to Vacate/set

        Aside/correctSentence(2255)filedbyBIUAN DAW D 1-III,L.CivilCase
        1:17CV1036.(Atlachments:# 1AdditionalAttachments,#2 Additional
        attachmentsll-faylor,Abby)(Entered:11/14/2017)55;#129(1:13-cr-435-l
        (M .D.N.C.I)LCDECLAM TION byBIUAN DAW D I-1II,L re125M otionto
        Vacate/setAside/correctSentence(2255)GledbyBRIAN DAVID IIILL.Civil
        Case1:17CV1036.(Taylor,Abby)(Entered:11/14/2017(
                                                       /'9#130(1:13-cr-435-1
        (M .D.N.C.I)CISECOND DECLARATION by BIUAN DAVID I-III,L re 125
        M otiontoVacate/setAside/correctSentence(2255)sledbyBIUAN DAVID
        TITI,
            L.CivilCase 1:17CV1036.(Taylor,Abby)(Entered:11/14/2017)'';#131
        (1:13-cr-435-1(M .D.N .C.I)CGEXFIIRITS 1-12 byBR'
                                                        IAN DAVID I'
                                                                   HLL re 128
        M emorandum.CivilCase1:17CV1036.(Taylor,Abby)(Additionalattachmentts)
        added on 11/15/2017:# 1Envelope)(Taylor,Abby).(Entered:11/15/2017)5';#132
        (1:13-cr-435-1(M .D.N.C.I)CCEM -IIBITS 13-32 byBlUAN DAW D HII,
                                                                      L re 128
        M emorandum.CivilCase1':17CV1036.(Taylor,Abby)(Entered:11/15/2017)5';
                                          5

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 5 of 18 Pageid#: 791
        #133 (1:13-cr-435-1(M .D.N.C.I)tIEXHTBITS 33-45by BRJAN DAVID I-llI,L re
        128M emorandum.CivilCase 1:17CV1036.(Taylor,Abby)(Entered:
        11/15/2017(
                  /';and#134(1:13-cr-435-1(M .D.N.C.I)'CEXFIIBITS46-53by
        BRIAN DAW D H'
                     IT,L re128Memorandum.CivilCase1:17CV1036.(Taylor,
        Abby)Moditiedon 11/16/2017,Exhibitné.49Stricken,see135Order.(Taylor,
        Abby).(Entered:11/15/2017)'5.Responsefrom theU.S.Attomey dueon
        1/15/2018,w hich is 14 daysbefore theCivilTrialw asscheduled forthiscase.The

        Plaintiffalsowillrequestdiscovery(111hiscliminalcase)seperatelyifthe
        Governmentdoesobjectto any oral1ofPlaintifrsacttlalilmocenceclaims,and
        willrequestwiththeU.S.DistrictCourtintheM iddleDistrictofNoith Carolina
        thatthe discovery pertinentto Plaintiffs2255 m otion beused in thiscivilcase as

        evidencethatthe U .S.Attorney ofik e in Greensboro,N orth Carolina did coverup

        evidenceandobstructedjustice,and improperlywithheld recordssubjecttothe
        FOIA .

     7. Plaintiffisaw are thatsoon therem ay bea law fulpurge ofthe corruption within

        the United SàtesA ttorney Offk eforthe M iddleD istrictofN orth Carolina,dueto

        the U .S.PresidentDonald John Trum p'sappointm entofM atthe'
                                                                   w G .T.M artin

        (EGM artin'')(Sept.8,2017)andconfirmation ofM artin bytheU.S.Senateon
        N ovem ber9,2017.M artin isto serve astheU .S.A ttom ey fortheM iddle District

        ofN orth Carolinaforthe next4-year-term ,and willlikely follow Trum p's

        philosophy orcam paign slogan oftdDrain The Swam p''ofthe corruptSW AM P

        creamres(com zptcriminals1callthem)oftheU.S.JusticeDepartment.The
                                            6

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 6 of 18 Pageid#: 792
        PlaintiffisconfdentthatonceMartinremoves(Gredfromjobs)theoldgarbageof
        the sw am p m egning the U .S.Attorney mssistantsfrom offke,the Governm entw ill
                                                                                   -




        startbehavina morereasonqbly.tonotooenlv andrecklesslv commitcrimçsbv
        bullyinMsçoverina up eyidence aaainstthePlaintiffand hisfam ily.and forcing the

        Plaintiffto falsely plead guilty by arrangem entwith Plaintiffsown court

        appointed lawyerlE1'icDavidPlacke)withoutPlaintiY sconsent.Plaintiffwill
        again attem ptto negotiate a settlem entwith theU .S.Attorney offke once

        M atthew G .T.M artin is fully settled into hisoffice asthe nextGovernm entlawyer

        and appointsnew assistantsto drain and replacethe swam p ofGreensboro.

        How everifthe U.S.Attom ey,since M artin's appointm entacquitsthePlaintiffof

        hisoriginalconviction and hisconviction isoverturned,he willeitherflle a

        voluntarymotiontodismissthiscasewithprejudice,ormayask thenewly
        confirm ed U .S.Attom ey to prosecuteAnand Prakash Ram msw am y,Cheryl

        Thom ton Sloan,Ripley Rand,and anybody else thatm ay havebeen involved in

        theviolation ofthe FOIA and the Obstrudion ofJustice com m ission ofcrim inal

        behavioragainstthe Plaintiffand hisfam ily oversim ply wanting to prove acm al

        innocence.Provine actualinnocence is usuallv theonlv w ay to berem oved

        from theV ireinia Com m onw ealth Sex O ffender Reeistrv aspartofthe Sex
                                                                              .




        O ffqnder Rqeistration and N otilication A ct(<KSO RNA'3.ltisacrim e to

        selectivelv rem ove certain prosecution files.especiallv sincethatofficeisnot

        owned privalely by the U .S.Attorney butsim ply thateach U .S.Attorney only
        servesthe office forthenumberofterm sapprovedbv the Senate.the President



Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 7 of 18 Pageid#: 793
        and/orbvanv applicablelaw.Itisnotthejob ofthe%sistantU.S.Attomeysto
        purgeevideneesimply because itis inconvenientto theirfalse orerroneousclaim s

        ofa crim inalDefendant'sguilt.Ifape icularreportisrem oved from the crim inal

        casediscovery beèause itshowsthatthecrim inalD efendantwasfram ed with child

        pom ,which provesthethreatening em ailsfrom torm ail.org w ereactually trueand

        thatthePlaintiffofthiscase was/isthe victim ofa torm ail.org childpom ov aphy

        setup (frameup)sohemewhich allegedpossiblehwolvementoftheNorth
        Carolina StateBureauofInvestigatiöh CIN.C.SB1''orûGSB1'')(SeeDocnment#2-
        2,Filed04/25/17,Page37of47,Pageid#:69)andthefederalprosecution covered
        itup.ItseemslikeJohn ScottCoalter(;1Mr.Coalter'')may alsohavebeenhelping
        the cpverup by threatening to destroy the discovery evidence m aterial,and tillthis

        day M r.Coalterhasnotfiled anything in this casenorin Pliintifrscrim inalcase

        refuting Brian and w itnessK enneth R.Forin% h'sstatem entsunderdeclaration

        (SeeDocument#2-8).AnandPrakash Ramaswamyactuallyallegedly accused the
        Plaintiffatthe Supervised Release Revocation hearing on June 30,2015,ofbeing

        behind the torm ail.org em ailmessageswhich isa load ofnonsense,and no

        evidencew aseveroffered norwasevidence everentered proving such.The

        threatening m essageswerereceived by thePlaintiffaround approxim ately April

        2013,which w asaround the exactsam etim ethaschild pom ography had appeared

        to have downloaded to PlaintifrsBlack ToshibaLaptop Cop puter,Satellite

        C655D up untilJuly28,2013,andwhilein SéIcustody.HisexactLaptop wms
        seized on August28,2012.Plaintiffcan very wellunderstand the very reasons
                                             8

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 8 of 18 Pageid#: 794
        why the federalprosecution covered up the evidencebecause ithelpsto provethat

        the Plaintiffisacm allv innocentviaaftsrmative defenseoffram eup which is
               -    .




        actualinnocçnce to technicalpossession and know ingly possessing m aterials

        which constitutechild pornography thatcould havebeen lansported viainterstate

        and foreign com merce including by usage ofa computer.Plaintiffsclaim sabout

        thethreatening em ailsaretrue,especially with the evidence showing thatthere

        wascovered up evidence by thefederalprosecutor.The fingersarepointing atthe

        StateBureau ofInvestigation,atthecom zptTown ofM ayodan,and to itsAttorney

        Philip Edward BergerSeniorand m aybe even hisform erDistrictA ttorney son

        PhilBergerJulzior.n ey are only suspectsand only should beregarded assuch

        unlyssany ofthem ora11ofthem areproven guilty in acourtoflaw.They area11

        suspects ofwhom could havepossibly fram ed the Plaintiffsom ehow and need to

        bethoroughly hwestigatedby theU.S.FederalBureau ofInvestigation (:1U.S.
        FBI''or&TB1'').HowevertheFBlhasn'tdoneanythingbecausethey arealso
        Iilledwith cornlptswamp creaturesatthetoppositionsthatrefuseto dojustice.
     8. Plaintiffdoesnotbelievethathe can completethe discovery requestwith thçother

        partiesby the deadline assethzthe PretrialOrder,dueto the ongoing A ppealthat

        isstalling theCourt'sability to conductany henring oracceptany m otion

        regarding discovery.ThePlaintiffand Defendants'm ay need m ore tim eto

        com pletethe interlocutory appeal,and to propose and fully furnish the ttwitness

        list''and Gsexhibitlist''which willbe used beforetheCivilTrialthatisscheduled,

        and allow eitherparty to challengewhethersuch evidence should be adm issible

                                             9

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 9 of 18 Pageid#: 795
        forTrial.Thata StatusConference m ay be needed to aflsnn theadm issibility ofa11

        evidence introduced by eitherparty.

     9. On Sunday,November19,2017,Plaintiffhadreoeived aheadinjurywhich
        required atotalof9 staples,dueto Plaintifrsdiabetic low blood sugarwhich m ay

        havebecom e a diabetic seizure atthetim e of2:004M to 3:30AM .Plaintiffs

        blood sugarhad started going back up afterthe Em ergency M edicalServices

        (tGEM S'')paramedicswerecalled,butPlaintiffwasinsistentduetohisObsessive
        CompulsiveDisorderCçOCD'')on conductinghishandwashingroutinebefore
        being driven to the Hospital.Then Plaintiffhad voluntarily been transported to

        Sovah H ospitalin M artinsville,V irginia,which wasform erly know n as

        M artinsville M em orialH ospital.Plaintiffisw illing to producethe m edicalrecords

        upon requestby theCourtorbyrequestfrom thebefendants'.Duetothehead

        injtu.yand challengestohishairwashing routineandhand washingroutineaspal4
        ofPlnintiff'sOCD,itwilltake longerforthePlaintiffto compiletheW itnessList

        and the ExhibitListforwhatevidencethePlaintiffwishesto produce fortheCivil

        Tlialthatissoheduled forJanuary 29,2018.

      lo.plaintiffm ay beappointed alawyerforhiscrim inalcasein theM iddleD istrictof

        North Carolina,asperhis2255 m otion,pursuantto the Crim inalJusticeAct.This

        lawyerm ay be involved in m atterswhich m ay orm ay notaffectthisFOIA

        litigation.Plaintiffw illtry to work with hisnex'tappointed Counselto ensurel at

        thePlaintiffcanprovethattheDefendants'improperly withheldrecordssubjectto
        release by theFOIA and thattheDefendants'havelœ ow ingly covered up the

                                            10

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 10 of 18 Pageid#: 796
        portion ofthe evidencerecordswhich ispa14 ofthe discovery packetofevidence

        m aterialthatisofthefederalprosecution filesofçunited StatesofA m ericav.

        Brian D avid H i11'.

      11.0n Septem ber6,2017,Plaintiffhad filed aD ocum ent#39 evidence to eclaration

         in SupportofD ocum ent#2 Complaint,andN ew Evidence Concem ing Possible

         Dishonesty oftheU .S.Attorney Offk eofGreensboro,N orth Carolinaby Brian

         DavidHill.(Attachments:# 1Exhibit1,# 2Exhibit2,# 3Exhibit3,# 4Exhibit4,
         # 5Exhibit5)(m1h)''.
      12.On Septem ber25,2017,Plaintiffhad filed D ocum ent#40 tW dditionalEvidence-

         PlaintiffsDeclaration in SupportofD ocum ent2 Com plaint,and N ew Evidence

         ConcerningN ew FOIA D ocum entRelease from D efendantEOUSA 1 Day A fter

         Call-ln Appearance on IN FOW ARS New Show ''W r Room ''with Owen Shroyer

         byBrian DavidHill.(Attachments:# 1Exhibit1- 2DVD discs(3 copies),# 2
         Exhibit2 - 9/13/17 Letterand enclostlresfrom K evin o ebs,AssistantD irector,

         Executive Office forUnited StatesA ttorneys,# 3 Exhibit3 -

         IncidenW nvestigation Reporq # 4 Exhibit4 - Case SupplementalReport,# 5

         EnvelopeandCertifiedM ailReceipt)NOTE:DVDSareavailableforviewing in
         Clerk'sOffice.thaml''
      l3.plaintiffintendsto requestthatthe Courtshould deny a11m otionsforsum m aly

        judgmentthattheDefendants'may fileduetothelargenumberofevidencethat
         show sthattheDefendants'm ay bedishonestand/orare m aking false m aterial

         factsaboutthePlaintiffBrianDavidHillandthefactsofhisirmocence(false
                                           11

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 11 of 18 Pageid#: 797
        confession,download dates,etc.etc.).PlaintiY sONLY intentionhaseverbeento
        provehisactualinnocence,fortheinterestsofjusticefortthepublic,andhmsbeen
        stonew alled fora long tim e.Plaintiffisnotevergoing to back down in any

        Fedel'alCourtuntilheisallowed to simply provehisactualinnocence,and getoff

        oftheSex OffenderRegistrysothathedoesn'thaveto think abouttheideaof

        suicide(SeeDocument#12-2,Page2 of2,Pageid#:256)bmsedon thehorrorsand
        m entalabusethathe m ay also receive from society in the futtlreoverbeing a

        wrongfully convicted false Sex Offender.ThePlaintiffhmsConstimtionalrights

        forareason,itisn'tjusthismentalhealth overhiswrongfulconviction.That
        Plaintiffhmsa Constim tionaldueprocessrighttmderthe adversarialsystem to

        provehisactualirmocencewhen accused ofany seriouscrim e including Sex

        Offenses.H isrightsshould notbebarred 9om him overthestigm atization and

        scorn ofsociety overanybody accused ofany sexualoffense including possession

        ofchild pom ography.The Plaintiffisadam antaboutproving hisinnocence,and

        histGinteraliaassertions''ofhisttfact-
                                             ualinnocence''(refeningtoEricPlacke's
        2014 opinion onthematteratthetime)from hispastproseGlingsin lliscriminal
        case furtherw arranta need to review overal1discovery m aterialswhich w ere

        pursued by the Plaintiff sFOIA requestdated August29,2016.ThereforePlaintiff

        recommendsthatanymotion forsummaryjudgmentbytheGovemmentbedenied
        forfailure to provethePlnintiffwrong.ThePlaintiffhmsfiled DvD s,

        Affdavitsr eclarations,copiesofrecords,and copiesoffacsim iletransm ission

        records,copiesofletters,som e copiesofwhatw asRled in PlaintiY s crim inal

                                           12

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 12 of 18 Pageid#: 798
        case,and possibly otherevidencem atelialw ith the Court.TheDefendants'have

        providedno evidencetotheCourtotherthan answeringthesummons(See
        Documelit//9).TheGovemm entiscleady beingdishonest.The45thU.S.
        PresidentDonald John Tnzmp had clearly wnrned Am erica ofthe politicalswam p,

        the cornlption in the U .S.D epartm entofJustice andthe com lption rem aining in

        otlrU .S.FederalBureau oflnvestigation.H ew antsthe sw amp drained and so

        doesthePlaintiff.lfTrtzm p had neverbeen elected,Plaintifflikely w ould have

        gave up and w anted to end hislifebecause Clinton w ould have appointed m ore

        com zption than any otherglobalistPresidentcombined.Thepresswould h>ve

        been targeted by the corruption.Trum p hassaved Plaintifpslifeby being elected

        and hisusage ofpopularcampaign slogansand m em essuch asttD rain the

        Swamp''andçtM alceAmericaGreatAgain''.Plaintiffhadhopeanddidn'tjust
        think hew ould be afalse Sex Offenderforavery long tim e.PlaintiffthanksU .S.

        PresidentTnzmp forgiving him the courageto fightin FederalCourq actvally to
        lightin two FederalCourtsto prove hisactualinnocenceand thatthe Governm ent

        hmsacted com zptly and capriciously to preventan innocentm an from proving his

        own ilm ocence.The G overnm entcan becom e GREA T again,Am erica can

        becom e saferagain.Plaintiffstandswith PresidentTrum p in working to drain the

        swamp.Plainiiffisn'tagainsttheGovemmentbutisonly againstthecom zption,
        wickednessand evil,the lawlessness,and the crim inalactivitiesby thosew orldng

        forthe Govem m ent.Plaintiffw antsa LA W FUL Governm entinsidethe United

        States.W e are anation oflaws,notanation ofm en/wom en.

                                            13

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 13 of 18 Pageid#: 799
   Plaintiffrespectfully tllesthisStatusReportwiththeCourt,

   Again,the U.S.Conjtim tion offersa criminalDefendant'jrightto review ,ilppect,and
                                                                      ''
                                                          .

   m ake copiesoreven takenotes,oreven to crossexam ihethe discovery evidence,to

   know whatijbeing used againsthim/herin acriminalcaseto notbe sweptinto a

   wrongfulconviction on a TRIAL BY A M BU SH .and to help create an effective - -




   defense attrial.PlaintiffBrian David H illwasheadine for a TRIAIUBY AM BUSH

   in 2014 ifhe had notfalselv taken the euiltv plea,no thanksto com prom ised,conupt,
              >.                                                  >
                                            .



   neglectful,and ignorantdefense Counselssuch asEricD avidPlacke and John Scott

   Coalter.Totaldeprivation and violatioh ofhis 14th Am endm entt6thAmendm ent.
                                                              -




   and even his5th Am endm entashew as forced to falsdm adm itzRiltdeprivine him

   ofhis riehtto rem aiilsilent.

   ThePlàintiffdoeséxhibiteood cause asto w hv the Courtshould considerthatthe
   U .S.Attornev O flk e ofG reensboio.NC.hasdone evea thine thev can to further
   victimizeBrian.lieaboptBrian.)reatefalsefaètsaboutBrian.andforceBrianto
   reeisteras a Sex O ffender for a crim e thathew as fram ed on.Then the U.S.
   Attornev reactsbv coverine up the evidenceto forceBrian to contin
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                   9
   a Sex O ffender.over and over aeain everv vear on Novem ber ofeach vear.rm eer
   printed.Brian isbeine treated w orsethan a m urdererorcom puter hacker or even a
   shoplifter.Even shopliftersand m urderers don'thàve to reeister asa sex offenderto
   w hich are restrieted to w hatthey are allowed to do in Iife and w here thev can Iivm
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   Brian D.H ill,formeriy ofUSW GO AlternativeNews,asltsthisCourtalongwith the
   statem entofcurrent45th U.S.PresidentDonald John Trum p to help ççDrain The
   Sw am p''ofthe corruption.erim inalbehavior.and etilw ithin ourFederal
   G overnm entaeencies.Brian asksthattheU.S.A ttorney notbe aeting so darn

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Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 14 of 18 Pageid#: 800
      corruptànd stop trying to preventBrian from proving hisactualinnocence.Drain
      theSwalp ofcorruptiohandevil.ThecriminalbelmvioroftheU-s.ittorneyOffice
      should notbe tolerated by federalIaw enforcem qntthatare supposed to follèw their
      O athsofO m ces.G overnm ent,do no Evil!H ow m any law sm ustthe G overnm ent
      violatebqforetheU.S.Attorney OffkelinillyletPlaintiffHillproveMsactual
 ' innoèence?
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       Paees 13 and 14 ofthe Iatestcrim inalcase docketsheet.as ofN ovem ber21.
      2017.areATTACH ED to thisStatusReportaspfoofthatPlaintiffdid lilea 1
                                                          #'       .

      2255 m otion.T otalnum ber of'paees isz-paees attached.(See D ocum ent#27-2
                 Filed 07/11/17.for restofwholedocketsheetbefore2255 nline)
      Plaintiffrequestswith the Courtthata conv ofthis FirstStatusReportbe served unon the
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      Governm entasstated i
             -            n 28 U.S.C.:1915(d),that''Thèo/itersofthecourtshallissueand
      serveaIIprocess,andpedorm aIldutiesinsuchcases.W itnessesshaliattendasinother
      tases,andthe same rèMediesshallbe availableasare provided forbv Iaw in othercases.
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      Plaintiffrequeststhatcopiesbe served w ith the defendants'and the U.S'
                                                                           .Attornev office of
      Roanoke,VA andAUSA ChervlT.Sloan viaCM/ECFNoticeofElectronicFilin:(''NEF'')em ail.
      ThankYou!

      ThisPLAINTIFF'S FIRSTSTATUS REPORT isrespedfully filed w ith the Eourt,thlsth: 22nd day
      ofNovem ber.20l7
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                     D ate o/signing:            ' .                                          Respectrullysubmitted,
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                                                                                                             o se)
                          '                                                        310 ForestStreet,Apartment2  .

                                                                                         M artinsville,VA 24112
                                                                                     .       Phone#:(276)790-3505
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Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 15 of 18 Pageid#: 801
                               C ER TH IC A TE O F SER W C E

   Plaintiffhereby certifesthaton Septem ber 22,2017,servicew asm adeby m ailing
   the originalofthe foregping

                           PLM NTIFF'SFIRNT STATVSREPORT

   by depositin the United StatesPo:tOfllce,Priority M ail,Postage prepaid under
   certilled m ailtkackingno.7017-1450-0000-9407-6742,on Septem ber22,2017
   addressed to'
               theClerk ofthe Courtin the U.S.D istH ctCourq fortheW estern
   Distrid ofVirginia,Danvilledivision 7 .0.Box 1400).ThenPlaintiffrequeststhat
   theClerk ofthe Courtshallhaveelectronically flled the foregoing PLM NTIFF'S
   FG ST STATUSREPORT usingtheCM /EPF system whichwillsendnptincation of
   such flingtotlxefollowingparties:
                                   èherylW ornton Sloan
                                   U .s.A ttorney o m ee
                   C ivilC ase # 4:17-cv-00027,A ppealC ase # 17-1866
                         101 South Edgew orth Stteet,4th Floor
                                    Greenshoro,NC 27411
                                   cheryl-sloan@ usdoj-gov
   ThisispursuunttoPlain'tiffsGlnformaPauperis''CIFPD status,28U.S.C.j1915(d)that
   Sçrl'heofficersofthecourtshailissueand serveaIIprdcess,andperform aIIdutiesinsuch
   cases-..fdthe C lerk shallserve proce'
                                        ssvia CM /E CF to serve processw ith aIlparties.
                 D ate ofsigning:                                   Respectfully subm itted,

       âwembew 2:                   z                               'o          '
                                                                        'k             Signed
                                                                      BrianD.Hill(Pro Se)
                                                            310 ForestStreet,Apartm ent2
                                                                  M ahinsville,V A 24112
                                                                   Phone#:(276)790-3505
                                                                         y:                @


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Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 16 of 18 Pageid#: 802
     07/01/2015 118 #'**FILED IN ERR0R***OPN ON filedbyBRIAN DAVID HILL.(Attachments:#
                    lEnvelope)(Daniel,p Moditiedon7/2/2015toreflectfledinerror.(Entered:
                    07/01/2015)
     07/01/2015   119 ***FILED IN ERROR***DIABETIC SEIZURE REPORT #1filed by BIUAN
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                      DAW D HVL.(Attachments:#J.Envelope)(Daniel,J)Modifiedon7/2/2015to
                      reflectûled in error.('
                                            Entered;07/01/2015)
     07/01/2015   l20 'R**FILED IN ERROR*** EM ERGENCY M OTION filedby BRIAN DAVID HILL
                      forAutism ExpertforRevocationHeyring.(Attachments:#lEnvelopeltDaniel,J)
                      M odifiedon7/2/2015toreflectfiledm error.(Entered:07/01/2015)
     07/01/2015 121 '
                    V**FILED IN ERROR*** NOTICE lled by BRIAN DAVID HII.L ofRecanting
                      TestimonialStatement.(Attachments:#lLettersltDaniel,J)Modifiedon7/2/2015to
                      reflectfiledinerror.(Entered:07/01/2015)
     07/02/2015       NOTICE ofDocketTexc ventM odification asto defendantBRIAN DAW D HILL
                      re:118 OPINION ?119 DIABETIC SEIZURE REPORT #1,120 EM ERGENCY
                      M OTION forAutism ExpertforRevocation Healing,121NOTICE ofRecanting
                      Testim onialSttem entrem oved from the docketand released to theDefendant's
                      attomey.(Daniel,T)(Entered:07/02/2015)
     07/24/2015 122 ORDER
                    SCHROEPE
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                                      ReleaseViolationHearingstgnedbyJUDGETHOMASD.
                                        2015.Defendant'ssupem sed releaseisnotrevoked énd the
                      Defepdant'istoremainon supervisedrelease.TheDefendnntshallparticipatein a
                      cogmtivebehaviorallqahnentprogram and locatio!lmonitoringhqmedetention
                      pro/am assetoutherem!A11othertermsandcondltionsofsupem sedreleaseas
                      Prevlously im posed remain in fullforceand effectin caseasto BRIAN DAW D HILL
                    (1).tDaniel,J)(Entered:07/24/2015)
     08/21/2015 123 TRANSCRIPTofProceedingsastoBRIAN DAVTD HILLSRV hearingfordatesof
                    6/30/2015beforeJudgeThomasD.schroedsr,CourtReporterBrianaL.Nesbit
                      Teleghonenumber336-734-2514.Transcnptmaybevlewedatthecourtpubllc
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     '                businessdaysto file a Notice ofintentto RequestRedaction and 21calendardays
                      to flle aRedaction Request.Ifno notice isfiled,thistranscriptwillbem ade
                      electronically available to thepublicwithoutredaction after 90 calendardays.
                      Transcriptmaybeviewed atthecourtpublicterminalol.yurchased throughthe
                      courtreporterbeforethe90 day deadline.Afterthatdate xtm ay beobtained
                      through PACER-</P> Redaction Requestdue 9/14/2015:Redacted Transcript
                      Deadlines!tfor9/24/2015.ReleaseofTranscriptRestriction setfor11/23/2015.
                      (Nesbit,Bnrmna)(Entered:08/21/2015)
     08/28/2015       Caseasto BRIAN DAW D HII,
                                              L referred to CHIEF JUDGE W ILLIAM L.OSTEEN,
                      JR.RE:PROB:12A.(Israel,Lisa)(Entered:08/28/2015)
     09/01/2015       CaseastoBRIAN DAW D HILL referred lo JU DGE THOM AS D.SCHROEDER
                    RE:PROB 12A.(lsrael,Lisa)(Entered:09/01/2015)
     09/04/2015 124 PROBATION PETITION/ORDER adoptingtheRecommendationts)oftheProbation
                    Oftk erin caseasto BRIAN DAVTD HILL.Signed by JUDGE THOM AS D.
                    SCHROEDER on9/2/2015.(Sheets,Jnmie)(Entered:09/04/2015)
     09/22/2015       CaseastoBIUAN DAW D HILL refen'
                                                    ed to JUDGE THOM AS D.SCIIROEDER re:
                    Prob22.tDaniel,.9 (Entered:09/22/2015)
     l1/14/2017 125 M OH ON toVacateeSetAsideorConrctSentence(plzrstlantto28U.S.C.2255)by
                    BRIAN DAW D IIILL.(Attachments:#1.EnvelopeltTaylor,Abby)
                    Civilcase 1:17-cv-01036-TDSopened.(Entered:11/14/2017)
     11/14/2017 126 M OTION/APPLICATION forIFPbyBRIAN DAVID HILL.(Taylor,Abby)
             .
                    (Entered:11/14/2017)
     11/14/2017   127 NOTICE by BRIAN DAVID HILL re 125 M OTION toevacate,SetA sideorCorrect
                      Sentence(ptlrsuantto28U.S.C.2255)CivilCase1:17CV1036.(Taylor,Abby)
                      (Entered:11/14/2017)

Case 4:17-cv-00027-JLK-RSB Document 44 Filed 11/27/17 Page 17 of 18 Pageid#: 803
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     l1/14/2017 128 MEM ORANDUM byBRIAN DAW D HILL re125M otiontdVycqte/set
                    Aside/correctSentence(2255)filedbïBRIAN DAVID HILL.ClyllCase
                    1:17CV1036.(Attachments:#lAdditlonalAttachments,#2Addlttonal
                    attachmentsltTaylor,Abby)(Entered:11/14/2017)
     11/14/2017 129 DECLARATION byBRIAN DAW D HILL re125M otiontoVaçate/set
                    Aside/correctSentence(2255)filedby BRJAN DAVID H1I,L.CtvilCase
                    1:17CV1036.(raylor,Abby)(Entered:11/14/2017)
     11/14/2017 130 SECOND DECLARATION byBIUAN DAW D HILL re 125MotiqntoVacate/set
                    Aside/correctSentence(2255)filedby BIUAN DAW D IIILL.CivllCase
                    1:17CV1036.(Taylor,Abby)(Entered:11/14/2017)
     11/14/2017 131 EXIIIBITS 1-12 by BRIAN DAVID HILL re 128M emorandum .CivilCase
                       1:17CV 103$ (Tayl
                                ..     or?Abby)(Additionalattachmentts)addedon11/15/2017:#1
                      Envelope)(Taylor,Abby).(Entered:11/15/2017)
     11/14/2017   132 EXH IBITS 13-32 by BRIAN DAW D I-
                                                      III,L re 128 M em orandum .CivilCase
                       1:17CV1036.(Ta#1or,Abby)(Entered:11/15/2017)
     11/14/2017   133 EXHSBITS 33-45 by BRIAN DAW D HILL re 128 M em orandum .CivilCase
                     1:17CV1036.(Taylor,Abby)(Entered:11/15/2017)
     11/14/2017 134 'EXHIBITS 46-53byBRIAN DAVID HILL re 128Memorjqdllm.CivilCase
                     1:17CV 1036 (Tay1or,Abbyl'
                                 .
                                     .         M odifiedon 11/16/2017,Exhlbltno.49Stlicken,see
                     135Order.(Taylor,Abby).(Entered:11/15/2017)
     11/15/2017      CASE REFERRED forScrqening 126M OTION/APPLICATION forIFP,125
                     M OTION toVacate,SetAsldeorCorrectSentence(plzrsuantto 28U.S.C.2255)
                     (Taylor,Abby)(Entered:11/15/2017)
     11/16/2017 135 ORDER signedbyV AG/JUDGEJOEL.WEBSTER on11/16/2017,thatPetitiopqr's
                      Applicatioq (DogketEntry 126)toptoceqdinformapauperisisdenieG thatExlubtt
                      49ascontamedlnDocketEntry 134lsjklckenand wll1beremovedflb  qklthereqord,
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                      Motion(DgcketEntry125)wlthm slxty(60)daysfrom thedateoftheentryofthis
                      Order.CivllCasel:17CV1036.(Taylor,Abby)(Entered:11/16/2017)
     11/16/2017       Set/Rejponse' DeadlineincaseastoBRIAN DAW D HILL 125M OTION toVacate,
                      SetAsldeorCqrrectSentence(pursuantto28UIS.C.2255).Responsesdueby
                      1/15/2018.CivllCase1:17CVl036.(Taylor,Abby)(Entered:11/16/2017)




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